Case 2:O4-cv-O2696-.]DB-dkv Document 13 Filed 05/02/05 Page 1 of 2 Page|D 22

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IN THE UNITED sTATEs DIsTRICT coURT j ,
FoR THE WESTERN DISTRICT oF TEI~H\IESSE§5 rim "2 Pi"i L“ 1*2

 

WESTERN DIVISION

P.OBEP§`E" [-1`. iii “`;`i:;£\`]i.ll”)
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W.‘r` "r"" ?`N: E=/lEivlFHlS

CHARLES WAGNER,

Plainriff,
v. NO.=QAM
MERIT DISTRIBUTION,

AUSTIN TRUCK & TRAILER REPAIR CENTER,
JAMES AUSTIN SR., in his individual capacity, and
JAMES AUSTIN JR., in his individual capacity,

Defendants.

 

ml ORDER GRANTING JOINT MOTION FOR MODIFICATION
OF THE COURT’S SCHEDULING ORDER

 

lt appearing to this Court that good cause is shown and that the parties Joint Motion for
Modiflcation of the Court’s Scheduling Order should be granted;

IT IS, THEREFORE, ORDERED that this Court’s Scheduling Order be modified to allow
Plaintiff up to and including May 27, 2005 to make his Rule 26 expert disclosure and be modified to
allow the Defendants up to and including June 27, 2005 to make their Rule 26 expert disclosure

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UNITED s'rATEs T JUDGE
DATE: 2 w

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 13 in
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May 3, 2005 to the parties listed.

 

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Honorable .l. Breen
US DISTRICT COURT

